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  15                        UNITED STATES DISTRICT COURT
  16                       CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
  17
       TIMBER HILL LLC, individually and           Case No. 2:17-cv-04776 DOC (KESx)
  18   on behalf of all others similarly situated,
                                                   The Hon. David O. Carter
  19                       Plaintiff,
                                                   CLASS ACTION
  20         vs.
  21   PERSHING SQUARE CAPITAL                   MEMORANDUM IN SUPPORT OF
       MANAGEMENT, L.P., et al.,                 PLAINTIFF TIMBER HILL LLC’S
  22                                             MOTION FOR APPOINTMENT AS
                          Defendants.            LEAD PLAINTIFF, APPROVAL OF
  23                                             SELECTION OF LEAD COUNSEL
                                                 AND CONSOLIDATION OF
  24                                             FUTURE RELATED ACTIONS ON
                                                 BEHALF OF DERIVATIVES
  25                                             INVESTORS
  26                                             DATE:        October 2, 2017
                                                 TIME:        8:30 a.m.
  27
                                                 PLACE:       Courtroom 9D
  28



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   1            Plaintiff Timber Hill LLC (“Timber Hill”) respectfully submits this
   2   memorandum of points and authorities in support of its motion pursuant to Section
   3   21D(a)(3)(B) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C.
   4   § 78u-4(b)(3)(B), as amended by the Private Securities Litigation Reform Act of
   5   1995 (“PSLRA”), for the entry of an Order: (1) appointing Timber Hill as lead
   6   plaintiff for a class (the “Derivatives Class”) consisting of: sellers of Allergan, Inc.
   7   (“Allergan”) call options,     purchasers of Allergan put options and sellers of
   8   Allergan equity forward contracts from February 25, 2014 through April 21, 2014,
   9   inclusive (the “Class Period”); (2) approving Timber Hill’s selection of Entwistle &
  10   Cappucci LLP (“Entwistle & Cappucci”) and Susman Godfrey L.L.P. (“Susman
  11   Godfrey”) to serve as Co-Lead Counsel for lead plaintiff and the Derivatives Class;
  12   and (3) consolidating any subsequently filed, removed or transferred related actions
  13   on behalf of derivatives investors under the caption In re Allergan, Inc. Proxy
  14   Violation Derivatives Litigation.
  15   I.       PRELIMINARY STATEMENT
  16            Timber Hill brings this action against Pershing Square Capital Management,
  17   L.P. (“Pershing”), Valeant Pharmaceuticals International, Inc. (“Valeant”) and
  18   related defendants1 who violated the federal securities laws by enabling and
  19   encouraging defendant Pershing to acquire billions of dollars of Allergan securities
  20   while possessing the non-public knowledge the transaction likely would proceed as
  21   a hostile tender offer. Pershing’s acquisition of Allergan securities violated, inter
  22   alia, Section 14(e) of the Exchange Act, as amended by the Williams Act of 1968,
  23   codified at 15 U.S.C. § 78n(e), Rule 14e-3 promulgated thereunder, codified at 17
  24   C.F.R. § 240.14e-3, Section 20A of the Exchange Act, codified at 15 U.S.C. § 78t-
  25   1, and Section 20(a) of the Exchange Act, codified at 15 U.S.C § 78(t)(a).
  26
  27      PS Management GP, LLC, William Ackman (“Ackman”), (founder and CEO of
            1

       Pershing), Pershing Square, L.P., Pershing Square II, L.P., Pershing Square GP,
  28   LLC, Pershing Square International, Pershing Square Holdings, Ltd., (together,
       with Pershing, “Pershing Defendants”) and Michael Pearson (“Pearson”) (former
       CEO of Valeant).
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   1           This action is related to In re Allergan, Inc. Proxy Violation Securities
   2   Litigation, Case No. 8:14-cv-2004-DOC (KESx) (C.D. Cal. Dec. 16, 2014) (the
   3   “Common Stock Class Action” or “Basile”). In Basile, the Court recently certified
   4   a class consisting of all persons who sold Allergan common stock
   5   contemporaneously with defendants’ purchases of Allergan common stock. Lead
   6   plaintiffs in Basile do not purport to represent persons or entities that traded
   7   Allergan derivative and securities, indeed, such derivative securities traders are
   8   excluded from the recently certified class.
   9           Accordingly, on June 28, 2017, plaintiff Timber Hill filed the instant action
  10   in order to protect the interests of the Derivatives Class encompassing all persons or
  11   entities that sold Allergan call options, purchased Allergan put options, or sold
  12   Allergan equity forward contracts during the Class Period. These Class members
  13   incurred significant harm when they sold call options, purchased put options or sold
  14   equity forward contracts during the time period that defendants are alleged to have
  15   been secretly building their ownership positions in furtherance of defendants’
  16   takeover scheme.
  17           Pursuant to the PSLRA, this Court must appoint the “most adequate plaintiff”
  18   to serve as lead plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(i). In that regard, the Court is
  19   required to determine which movant has the “largest financial interest” in the relief
  20   sought by the Class in this litigation and also whether such movant has made a
  21   prima facie showing that it is a typical and adequate class representative under Fed.
  22   R. Civ. P. Rule 23. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).
  23           Timber Hill satisfies all of the statutory requirements for appointment as lead
  24   plaintiff of the Derivatives Class. Specifically, Timber Hill: (1) has timely filed
  25   this motion for appointment as lead plaintiff; (2) believes it has the largest financial
  26   interest in this litigation; and (3) will adequately represent the interests of the
  27   Derivatives Class since it satisfies the typicality and adequacy requirements of Fed.
  28   R. Civ. P. 23(a). See 15 U.S.C. § 78u-4(a)(3)(B)(iii). In addition, Timber Hill’s

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   1   claims are typical, if not identical, to the other Derivatives Class members. Timber
   2   Hill can adequately represent the interests of the Derivatives Class since it has no
   3   conflicts with other class members, and has chosen highly qualified Lead Counsel
   4   who have been and can continue to vigorously pursue this litigation on behalf of the
   5   Derivatives Class.
   6           As a large institutional investor, Timber Hill is an ideal lead plaintiff to
   7   represent the Derivatives Class. Moreover, Timber Hill is familiar with the role of
   8   and responsibility of a class representative plaintiff because among other things, it
   9   has previously participated in other complex securities litigation matters, and has
  10   served in a leadership role. In the present action, Timber Hill has committed the
  11   resources necessary to vigorously pursue claims on behalf of the Derivatives Class,
  12   and has been actively involved in this action since its inception. Among other
  13   things, Timber Hill, or its selected counsel has: (i) filed the only complaint on
  14   behalf of the Derivatives Class; (ii) met and conferred with counsel for defendants
  15   in the present case as well as counsel for the plaintiffs and defendants in Basile; (iii)
  16   filed a status report with the Court; (iv) attended the July 25, 2017 hearing before
  17   the Court; (v) met with the Special Masters in this action and the Basile action; (vi)
  18   negotiated a scheduling order; (vii) negotiated a protective order; (viii) moved for
  19   relief from the PSLRA discovery stay; (ix) further negotiated discovery-related
  20   issues with defendants separately, and in response to the Court’s and Special
  21   Masters’ directions; and (x) commenced document discovery and review.
  22   Accordingly, Timber Hill is the presumptive lead plaintiff.
  23           Timber Hill’s selection of Entwistle & Cappucci and Susman Godfrey as Co-
  24   Lead Counsel should likewise be approved by the Court because, pursuant to the
  25   PSLRA, the presumptive lead plaintiff is entitled to select the Lead Counsel of its
  26   choice. Entwistle & Cappucci has extensive experience in the successful
  27   prosecution of securities class actions, and will more than adequately represent the
  28   interests of all Derivatives Class members. Timber Hill also seeks the appointment

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   1   of Co-Lead Counsel Susman Godfrey, a firm with a nationwide reputation for
   2   excellence in the litigation of complex class action cases.
   3   II.       BACKGROUND
   4             This action arises from events preceding Valeant’s June 17, 2014
   5   announcement of a tender offer for Allergan. As early as February 6, 2014 and
   6   continuing for the next several weeks, Valeant took substantial steps toward a
   7   tender offer by engaging in concerted efforts with defendant Ackman and Pershing.
   8   Among other things, Valeant: (i) engaged legal advisors; (ii) engaged financial
   9   advisors; (iii) prepared financial models with offer pricing scenarios, expected stock
  10   price impact and projected synergies; (iv) held multiple Board of Directors
  11   meetings; (v) negotiated the respective financial commitments of Valeant and
  12   Pershing; and (vi) agreed to commit over $75 million to the entity that would
  13   ultimately acquire Allergan securities.
  14             On February 9, 2014, Valeant and Pershing entered into a confidentiality
  15   agreement, after which defendant Pearson informed Ackman of Valeant’s interest
  16   in a potential transaction with Allergan. With its inside knowledge of Valeant’s
  17   impending takeover, Pershing agreed to acquire a significant Allergan stake using
  18   its own funds, in order to support Valeant’s efforts and to secure massive profits for
  19   itself.    On February 13, 2014, representatives of Valeant and Pershing and their
  20   respective counsel met to discuss a potential transaction involving Allergan. On
  21   February 15, 2014, Andrew Davis, Vice President of Business Development at
  22   Valeant, emailed Pearson attaching a document acknowledging that the “Allergan
  23   Opportunity” would consist of a “[h]ostile cash and stock merger.” See Timber
  24   Hill’s Class Action Complaint, ECF No. 1 at 89-104.
  25             Between February 20 and 25, 2014, representatives of Valeant and Pershing
  26   and their respective counsel exchanged drafts of and negotiated a contractual and
  27   financial agreement (“the Relationship Agreement”) related to the purchase of
  28   equity securities issued by Allergan.      The parties finalized and executed the

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   1   Relationship Agreement on February 25, 2014. Under the Relationship Agreement,
   2   Valeant agreed to contribute $75.9 million — the maximum allowed without
   3   triggering antitrust disclosure requirements — to the purported “co-bidder entity”
   4   PS Fund 1, LLC (“PS Fund 1”) to assist with the Pershing Defendants’ acquisition
   5   of a significant stake of Allergan’s stock at prices that were artificially depressed or
   6   failure to disclose Valeant’s takeover plans. Pershing supplied funds of over $3
   7   billion, and retained sole control over PS Fund 1. Id. at 108-114.
   8           In the Relationship Agreement, defendants specifically claimed to be “co-
   9   bidders” in connection with a potential Allergan transaction — likely in an effort to
  10   support a claimed argument that they were all the same “person” for purposes of the
  11   insider trading rules. Id. at 112. PS Fund 1 secretly purchased a substantial amount
  12   of Allergan stock without filing disclosure documents with the Securities and
  13   Exchange Commission or paying any form of control premium.                 Id. at 122.
  14   Pershing was the primary actor in purchasing Allergan stock; it provided
  15   approximately 97.5% of the funding for PS Fund 1, and the Relationship
  16   Agreement states that Pershing “will direct the management” of PS Fund 1.
  17           Rule 14e-3 provides that, where any person has taken “a substantial step or
  18   steps” (the “offering person”) to commence a tender offer of a target company, any
  19   “other person” who is in possession of material nonpublic information relating to
  20   that tender offer is prohibited from purchasing or selling any securities of the target
  21   company, unless the information is publicly disclosed within a reasonable time
  22   prior to the purchase or sale.
  23           Valeant took substantial steps toward a tender offer for Allergan’s stock
  24   beginning on or before February 6, 2014. Moreover, having already been rebuffed,
  25   Valeant knew it would not likely be able to acquire Allergan through a “friendly”
  26   deal, and that a hostile tender offer was therefore inevitable. Valeant told Pershing
  27   about Valeant’s confidential plans to launch a tender offer precisely because
  28   Valeant expected and knew that Pershing would trade on that information. Valeant

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    1   wanted as many shares as possible to be held by stockholders that Valeant
    2   perceived as likely to support an Allergan takeover, but since it could not pay for
    3   the shares directly, it turned to Pershing. The illicit tip from Valeant was Pershing’s
    4   incentive to join the scheme.
    5           In a series of complex and undisclosed transactions between February 25 and
    6   April 21, 2014, PS Fund 1 quickly acquired 9.7% of Allergan’s stock (the
    7   “Purchase Program”), primarily through over-the-counter (“OTC”) call options and
    8   OTC equity futures. Defendants began the Purchase Program at a time when they
    9   unquestionably had material nonpublic information relating to Valeant’s
   10   forthcoming tender offer; in violation of Rule 14e-3’s trading prohibition. Pershing
   11   knew that the announcement of Valeant’s hostile offer for Allergan would trigger a
   12   bidding war and corresponding massive increase in Allergan’s stock price. By the
   13   time “white knight” bidder Actavis, plc closed a deal to acquire Allergan on March
   14   17, 2015, Pershing owned nearly 9.7% of Allergan’s common stock – worth over
   15   $6 billion – which it rushed to cash out for a net profit of approximately $2.5
   16   billion. Id. at 187. In total, over 97% of this profit – or $2,536,145,765.95 – was
   17   derived from PS Fund 1’s purchases of derivatives. Id. at 188. Plaintiff and other
   18   derivatives investors suffered harm as a result of these trades because they did not
   19   know the information they were entitled to know under the disclose-or-abstain-
   20   from-trading principle of Rule 14e-3, and consequently traded Allergan derivatives
   21   without receiving the benefit of the premium that would have existed if the
   22   Pershing Defendants had timely disclosed what they knew about the takeover
   23   scheme. Pershing thus exploited exactly the sort of informational advantage that
   24   Rule 14e-3 was designed to prevent, and reaped billions in illicit profits at the
   25   expense of Timber Hill and other derivatives investors.
   26           Defendants’ illicit insider trading and securities warehousing scheme was
   27   effectuated through trading in Allergan derivative securities for the specific purpose
   28   of circumventing regulatory and disclosure requirements.          Indeed, Pershing’s

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    1   acquisition of Allergan derivatives was the “but for” cause that allowed defendants
    2   to carry out their insider trading scheme. Defendants are alleged to be liable to
    3   plaintiff and other derivative securities investors for damages by reason of
    4   defendants’ alleged misconduct.
    5   III.    TIMBER HILL SHOULD BE APPOINTED LEAD PLAINTIFF
    6           A.         The PSLRA Standard For Appointment Of Lead Plaintiff
    7           The PSLRA sets forth the lead plaintiff selection procedures for “each
    8   private right of action arising under the [Exchange Act] that is brought as a plaintiff
    9   class action pursuant to the Federal Rules of Civil Procedure.” 15 U.S.C. §§ 78u-
   10   4(a)(1) and (a)(3)(B). Specifically, Section 21D(a)(3)(A)(i) of the Exchange Act,
   11   as amended by the PSLRA, provides that:
   12                Not later than 20 days after the date on which the complaint is
   13                filed, the plaintiff or plaintiffs shall cause to be published, in a
   14                widely circulated national business-oriented publication or wire
   15                service, a notice advising members of the purported plaintiff

   16                class--

   17
                           (I)    of the pendency of the action, the claims asserted

   18
                                  therein, and the purported class period; and

   19
                           (II)   that, not later than 60 days after the date on which

   20
                                  the notice is published, any member of the

   21
                                  purported class may move the court to serve as lead

   22
                                  plaintiff of the purported class.

   23
        15 U.S.C. § 78u-4(a)(3)(A)(i).
                Section 21D(a)(3)(B)(i) directs the Court to consider any motions by a
   24
        purported class member to serve as lead plaintiff in response to any such notice by
   25
        no later than 90 days after the date of publication of the aforementioned notice. See
   26
        15 U.S.C. § 78u-4(a)(3)(B)(i). Under this section, the Court shall consider any
   27
        motion made by a class member and shall appoint as lead plaintiff the member or
   28

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    1   members that the Court determined to be “most capable of adequately representing
    2   the interests of class members.” Id.
    3           The PSLRA requires the Court to adopt a rebuttable presumption that the
    4   “most adequate plaintiff” to serve as lead plaintiff is the “person or group of
    5   persons” that:
    6                      (aa) has either filed the complaint or made a motion in response to [the
    7                      aforementioned] notice;
    8                      (bb) in the determination of the court, has the largest financial interest
    9                      in the relief sought by the class; and

   10                      (cc) otherwise satisfies the requirements of Rule 23 of the Federal

   11
                           Rules of Civil Procedure
        See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). The presumption may only be rebutted by
   12
        proof from a class member that the “most adequate plaintiff”: (i) “will not fairly
   13
        and adequately protect the interests of the class,” or (ii) “is subject to unique
   14
        defenses that render such plaintiff incapable of adequately representing the class.”
   15
        As discussed more fully below, neither of these factors applies to Timber Hill.
   16
                B.         Timber Hill Has Satisfied The PSLRA Requirements And Should
   17
                           Be Appointed Lead Plaintiff
   18
                Timber Hill should be appointed lead plaintiff of the Derivatives Class
   19
        because it satisfies all of the PSLRA’s requirements, is believed to have the largest
   20
        financial interest in this litigation and otherwise meets the requirements of Fed. R.
   21
        Civ. P. 23.
   22
                           1.    This Motion Is Timely And Proper
   23
                Timber Hill has demonstrated its readiness to serve as a representative of the
   24
        Derivatives Class by filing the only complaint in this case. Timber Hill has also
   25
        signed a certification setting forth its transactions in call options and put options
   26
        during the Class Period. See Seltzer Decl., Ex. A. In addition, Timber Hill has
   27
        been actively involved in this litigation. To date, Timber Hill has, among other
   28
        things: (i) filed the only complaint on behalf of the Derivatives Class; (ii) met and
                                                         8
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    1   conferred with counsel for defendants in the present case as well as counsel for the
    2   plaintiffs and defendants in Basile; (iii) filed a status report with the Court; (iv)
    3   attended the July 25, 2017 hearing before the Court; (v) met with the Special
    4   Masters in this action and the Basile action; (vi) negotiated a scheduling order; (vii)
    5   negotiated a protective order; (viii) moved for relief from the PSLRA discovery
    6   stay; (ix) further negotiated discovery-related issues with defendants separately, and
    7   in response to the Court’s and Special Masters’ directions; and (x) commenced
    8   document discovery and review.          In addition, Timber Hill has committed
    9   substantial resources to pursue claims on behalf of the class.
   10           Timber Hill’s motion to serve as lead plaintiff is also timely. As noted
   11   above, Timber Hill’s complaint was filed in this Court on June 28, 2017. On June
   12   30, 2017, Timber Hill, through its counsel, published a notice of pendency of this
   13   action pursuant to Section 21D(a)(3)(A)(i) of the Exchange Act in Business Wire, a
   14   widely-distributed, business-oriented news service (the “Derivatives Notice”). See
   15   Seltzer Decl., Ex. B. The Derivatives Notice properly informed putative class
   16   members of the pendency of this action, the specific legal claims asserted in the
   17   complaint, the proposed class period and the 60-day deadline by which other class
   18   members must move this Court to be appointed as lead plaintiff. See 15 U.S.C. §
   19   78u-4(a)(3)(A)(i)(I) & (II). The instant motion is being filed on August 29, 2017,
   20   which is within 60 days from the publication of the Derivatives Class Notice. See
   21   15 U.S.C. § 78u-4(a)(3)(A)(i)(II).
   22           Finally, Timber Hill has selected and retained competent counsel to represent
   23   it and other members of the Derivatives Class. Specifically, Timber Hill has
   24   selected Entwistle & Cappucci and Susman Godfrey, both experienced and well-
   25   qualified firms, to co-lead this litigation, and both firms have agreed to a fee
   26   structure that is designed to achieve the greatest possible recovery for the class.
   27   The firm resumes of Entwistle & Cappucci and Susman Godfrey, Timber Hill’s
   28   choice of Co-Lead Counsel, are attached as Exhibit C and Exhibit D respectively, to

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    1   the Seltzer Declaration. Also included as part of Exhibit D is the firm biography of
    2   Marc M. Seltzer, who is lead of the firm’s effort in this litigation. Accordingly,
    3   Timber Hill has satisfied the individual requirements of 15 U.S.C. § 78u-
    4   4(a)(3)(A)(i) and (a)(3)(B)(iii)(aa).
    5                      2.   Timber Hill Believes It Has The Largest Financial Interest
    6                           In The Relief Sought By The Class
    7           The PSLRA instructs the Court to adopt a rebuttable presumption that the
    8   “most adequate plaintiff” for appointment as lead plaintiff is the entity or group of
    9   persons that has the largest financial interest in the relief sought by the class. 15
   10   U.S.C. § 78u-4(a)(3)(B)(iii)(I)(bb). In order to do so, “the district court must
   11   compare the financial stakes of the various plaintiffs and determine which one has
   12   the most to gain from the lawsuit.” In re Cavanaugh, 306 F.3d 726, 730 (9th Cir.
   13   2002). In calculating a proposed lead plaintiff’s financial stake in the litigation, the
   14   Ninth Circuit recommends that the district court “select accounting methods that are
   15   both rational and consistently applied.” Id., n. 4.2
   16           During the Class Period, as evidenced by the accompanying certification (See
   17   Seltzer Decl., Ex. A), Timber Hill sold 4,894 Allergan call options, relating to
   18   underlying Allergan common stock valued at $66,737,500.             Id.   Additionally,
   19   Timber Hill purchased 2,383 put options during the Class Period, and the aggregate
   20   value of the underlying Allergan common stock that Timber Hill had the right to
   21   sell under these put options totaled $28,128,750. Id. The total aggregate value of
   22   Allergan common stock underlying Timber Hill’s call option sales and put option
   23

   24

   25      2 In the context of comparing various movants’ financial stakes based on
        common stock transactions, courts in this Circuit typically consider the Olsten-Lax
   26   factors. See Knox v. Yingli Green Energy Holding Co., Ltd., 136 F. Supp. 3d 1159,
        1163 (C.D. Cal. 2015) (citations and internal quotations omitted). However, at
   27   least one court in this Circuit has rejected Olsten-Lax in the context of determining
        a plaintiff’s financial stake based on transactions in options. See, e.g., Bricklayers
   28   of    Western      Pennsylvania      Pension     Plan    v.    Helca     Min.     Co.,
        Nos. 2:12-cv-00042-BLW, 2:12-cv-00067-BLW, 2012 WL 2872787 (D. Idaho July
        12, 2012).
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    1   purchases is $94,866,250.3 Id. Timber Hill is presently unaware of any other
    2   Derivatives Class member who has sought to be appointed as lead plaintiff of the
    3   class. Accordingly, Timber Hill has the largest financial interest and is thus the
    4   presumptive “most adequate plaintiff.” 15 U.S.C. § 78u-4(a)(3)(B)(iii).
    5                      3.   Timber Hill Satisfies Fed. R. Civ. P. 23
    6           In addition to possessing the largest financial interest in the outcome of the
    7   litigation, the lead plaintiff must also “otherwise satisf[y] the requirements of Rule
    8   23 of the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(3)(B). Rule
    9   23(a) provides that an action may be certified as a class action only if the following
   10   requirements are satisfied: (1) the class is so numerous that joinder of all members
   11   is impracticable; (2) there are questions of law or fact common to the class; (3) the
   12   claims or defenses of the representative parties are typical of the claims or defenses
   13   of the class and (4) the representative parties will fairly and adequately protect the
   14   interests of the class. See Fed. R. Civ. P. 23(a).
   15           The party moving for lead plaintiff need only make a preliminary showing of
   16   the typicality and adequacy prongs of Rule 23(a) – those that directly address the
   17   personal characteristics of the class representative – and defer examination of the
   18   remaining requirements until the lead plaintiff moves for class certification. See
   19   Cavanaugh, 306 F.3d 726, 730-31 (9th Cir. 2002) (vacating order appointing lead
   20   plaintiff); Schriver v. Impac Mort. Holdings, Inc., No. SACV 06-31 CJC (RNBx),
   21   2006 WL 6886020, at *3 (C.D. Cal. May 2, 2006) (granting motion for
   22   consolidation of related cases, appointment of lead plaintiff, and appointment of
   23   class counsel); Knox, 136 F. Supp. 3d at 1165.
   24           As set forth below, Timber Hill satisfies both the typicality and adequacy
   25   requirements of Rule 23.
   26
   27

   28     3 These calculations are solely for purposes of this motion, and are not
        necessarily intended to represent the amount of, or method of, calculation of
        damages plaintiff may present at trial.
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    1                        a.     Timber Hill’s Claims Are Typical Of The Derivatives
    2                               Class
    3           Timber Hill meets the typicality requirements of Fed. R. Civ. P. 23(a)(3).
    4   Rule 23(a)(3) provides that the claims or defenses of the representative parties must
    5   be typical of those of the class. See Fed. R. Civ. P. 23(a)(3). The “test of typicality
    6   is ‘whether other members have the same or similar injury, whether the action is
    7   based on conduct which is not unique to the named plaintiffs, and whether other
    8   class members have been injured by the same course of conduct.’” Petersen v.
    9   Costco Wholesale Co., No. SA13-CV-1292 DOC (JCGx), 2016 WL 6768911, at *3
   10   (C.D. Cal. Nov. 15, 2016) (citing Hanon v. Dataproducts Corp., 976 F.2d 497, 508
   11   (9th Cir. 1992)) (denying motion to decertify class). Here, the claims asserted by
   12   Timber Hill are typical, if not identical, to the potential claims of other class
   13   members. Timber Hill and each of the other class members: (i) traded in Allergan
   14   derivative securities during the Class Period contemporaneously with defendants’
   15   purchases; and (ii) were damaged thereby. See Tanne v. Autobytel, Inc., 226 F.R.D.
   16   659, 667 (C.D. Cal. 2005) (finding typicality requirement met when the proposed
   17   lead plaintiff “submitted a sworn certification indicating that he [traded the
   18   company’s] securities and suffered losses during the period.”). Thus, Timber Hill’s
   19   claims are typical of those of other Derivatives Class members.
   20
                             b.     Timber Hill Will Fairly And Adequately Represent
   21
                                    The Interests Of The Derivatives Class
   22

   23
                Timber Hill also satisfies the adequacy requirements of Fed. R. Civ. P. 23(a)

   24
        4). Under Fed. R. Civ. P. 23(a)(4), the representative parties must “fairly and

   25
        adequately protect the interests of the class.” The PSLRA directs the Court to limit

   26
        its adequacy inquiry to the existence of any conflict between the interests of Timber

   27
        Hill and the members of the Derivatives Class. Thus, in determining whether

   28
        adequacy under Fed. R. Civ. P. 23(a)(4) is satisfied, the Court inquires whether a

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    1   proposed lead plaintiff has “a sufficient interest in the outcome of the case” and a
    2   “willingness . . . to vigorously prosecute the action.” Autobytel, 226 F.R.D. at 667-
    3   68. The Court also “assess[es] whether [the proposed lead plaintiff] has interests
    4   antagonistic to the class, and whether his counsel have the necessary capabilities
    5   and qualifications.” Id.
    6            As evidenced by Timber Hill’s substantial losses resulting from its sales of
    7   Allergan call options and purchase of Allergan put options during the Class Period,
    8   its interests are clearly aligned with the interests of the members of the class it seeks
    9   to represent. There is also no evidence of any antagonism between Timber Hill’s
   10   interests and those of the other members of the class. As detailed above, Timber
   11   Hill shares identical or substantially similar questions of law and fact with the other
   12   members of the proposed class and its claims are typical of the members of the
   13   class.
   14            Timber Hill has also taken significant steps which demonstrate that it will
   15   protect the interests of the class. Among other things, Timber Hill has: (i) filed the
   16   only complaint on behalf of the Derivatives Class; (ii) met and conferred with
   17   counsel for defendants in the present case as well as counsel for the plaintiffs and
   18   defendants in Basile; (iii) filed a status report with the Court; (iv) attended the July
   19   25, 2017 hearing before the Court; (v) met with the Special Masters in this action
   20   and the Basile action; (vi) negotiated a scheduling order; (vii) negotiated a
   21   protective order; (viii) moved for relief from the PSLRA discovery stay; (ix) further
   22   negotiated discovery-related issues with defendants separately, and in response to
   23   the Court’s and Special Masters’ directions; and (x) commenced document
   24   discovery and review.        Moreover, Timber Hill has retained competent and
   25   experienced counsel to prosecute these claims and to investigate further the facts
   26   giving rise to this action. Timber Hill’s proposed Co-Lead Counsel are highly
   27   qualified, experienced in the prosecution of class actions involving federal
   28   securities law claims, and able successfully to conduct this complex litigation in a

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    1   professional manner.      Thus, Timber Hill satisfies the typicality and adequacy
    2   requirements of Fed. R. Civ. P. 23 for the purposes of this motion.
    3                        c.     Timber Hill Is An Ideal Lead Plaintiff to Represent
    4                               the Derivatives Class
    5
                As an institutional investor, Timber Hill also satisfies the PSLRA’s goal of
    6
        encouraging institutional investors to “take the reins” in securities class actions.
    7
        See H.R. Conf. Rep. No. 104-369, at *34 (1995), reprinted in 1995 U.S.C.C.A.N.
    8
        730, 755 (1995) (explaining that “increasing the role of institutional investors in
    9
        class actions will ultimately benefit shareholders and assist courts by improving the
   10
        quality of representations in securities class actions.”). Courts in this Circuit and
   11
        others have noted this Congressional preference to appoint institutional investors,
   12
        such as Timber Hill, as lead plaintiffs in federal securities class actions. See, e.g.,
   13
        Pace v. Quintanilla, No. SACV 14-2067-SOC (RNBx), 2014 WL 4180766, at *2
   14
        (C.D. Cal. Aug. 19, 2014) (Carter, J.) (“[C]ourts have found that small groups
   15
        whose members have suffered substantial losses . . . are suitable lead plaintiffs.”).
   16
                Timber Hill is a sophisticated institutional investor with a substantial
   17
        financial stake in this litigation.     Timber Hill will have every incentive to
   18
        vigorously pursue this case and to obtain the best possible recovery for the
   19
        Derivatives Class. Appointing Timber Hill as lead plaintiff of the Derivatives Class
   20
        would satisfy the PSLRA’s aim of having the plaintiff class represented by an
   21
        institutional investor with a significant stake in the outcome of the litigation.
   22
        IV.     TIMBER HILL’S CHOICE OF LEAD COUNSEL SHOULD BE
   23
                APPROVED
   24
                As the presumptive lead plaintiff, Timber Hill’s selection of the law firms of
   25
        Entwistle & Cappucci and Susman Godfrey to serve as Co-Lead Counsel, pursuant
   26
        to 15 U.S.C. 78u-4(a)(3)(B)(v), should be approved by the Court.
   27
                As reflected in its firm resume, Entwistle & Cappucci possesses extensive
   28
        experience litigating securities class actions, having successfully prosecuted some
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    1   of the largest and highest-profile securities class actions in history (See Seltzer
    2   Decl., Ex. C). Entwistle & Cappucci has distinguished itself as one of the nation’s
    3   premier complex litigation firms, and currently serves as Lead Counsel and/or as a
    4   member of Plaintiffs’ Executive Committee in many high-profile securities class
    5   actions pending throughout the country.
    6           In recent years, Entwistle & Cappucci has secured billions of dollars in
    7   recoveries on behalf of defrauded public and private institutional investors,
    8   including: In re Royal Ahold, N.V. Secs & ERISA Litig., MDL-01539 (D. Md.)
    9   (obtaining $1.1 billion recovery for class of investors); and In re BankAmerica
   10   Securities Litigation, No. 99-1264-CEJ (E.D. Mo.) (obtaining $490 million
   11   recovery for class of investors).
   12           Since the firm’s founding in 1980, Susman Godfrey has served as lead
   13   counsel in hundreds of class actions and other complex commercial disputes in
   14   courts throughout the country. Susman Godfrey’s practice is dedicated exclusively
   15   to litigating and trying lawsuits. The firm has represented clients in some of the
   16   largest and most complex cases ever litigated, and has demonstrated that it has the
   17   ability and resources to handle those cases effectively and efficiently.
   18           Susman Godfrey’s experience, track record of success and staying power are
   19   reflected in its wide recognition as one of the nation’s leading trial firms, including
   20   by The American Lawyer in its first-ever “Litigation Boutique of the Year” award
   21   and, more recently, by being named in 2014 to National Law Journal’s “America’s
   22   Elite Trial Lawyers” list. The firm’s lawyers are consistently recognized as “Super
   23   Lawyers” and “Rising Stars” in the states where they practice. Susman Godfrey
   24   currently has more than one hundred lawyers nationwide in its four offices, over
   25   90% of whom served as federal judicial clerks.
   26           Accordingly, the Court should approve Timber Hill’s selection of Entwistle
   27   & Cappucci and Susman Godfrey as Co-Lead Counsel for plaintiff and the
   28   Derivatives Class in this case.

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    1   V.      THE COURT SHOULD ORDER CONSOLIDATION OF ALL
    2           FUTURE RELATED DERIVATIVES ACTIONS
    3           Plaintiff respectfully requests that the Court order any subsequently filed
    4   action related to the claims asserted in the above-captioned action brought on behalf
    5   of Allergan derivatives investors be consolidated with the present action.
    6   Additionally, plaintiff further requests that every future pleading in the above-
    7   captioned action have the caption: In re Allergan, Inc. Proxy Violation Derivatives
    8   Litigation, Case No. 2:17-cv-04776 DOC (KESx).
    9   VI.     CONCLUSION
   10           For the foregoing reasons, Timber Hill respectfully requests that the Court:
   11   (i) appoint Timber Hill as lead plaintiff for the Derivatives Class; and (ii) approve
   12   its selection of Entwistle & Cappucci and Susman Godfrey as Co-Lead Counsel for
   13   the lead plaintiff and the Derivatives Class; and (iii) order the consolidation of any
   14   subsequently filed, removed or transferred related actions on behalf of Allergan
   15   derivatives investors under the caption In re Allergan, Inc. Proxy Violation
   16   Derivatives Litigation, Case No. 2:17-cv-04776 DOC (KESx).
   17

   18   Dated: August 29, 2017                 Respectfully submitted,
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                                                 16
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    1
                                          Attorneys for Plaintiff Timber Hill LLC
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